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                       UNITED STATES DISTRICT COURT
                        MIDDLE DISTRICT OF FLORIDA
                          JACKSONVILLE DIVISION

   FALLS LAKE NATIONAL
   INSURANCE COMPANY,

         Plaintiff,

   v.                                              Case No. 3:21-cv-828-TJC-MCR

   AJD BUSINESS SERVICES, INC.,
   RUSSEL ROGATENKO, and
   MELISSA DZION,

         Defendants.


                                      ORDER

         The Court has been advised that this case has been settled (Doc. 55).

   Accordingly, it is now

         ORDERED:

         1.    The parties shall have until September 12, 2022 to file a joint

   motion for dismissal or other appropriate documents to close out this file.

         2.    If the parties have not filed settlement pleadings or a request for

   extension of time by the September 12, 2022 deadline, this case will

   automatically be deemed to be dismissed without prejudice. The parties are

   cautioned that in some cases, the Court may not have jurisdiction to

   enforce settlement agreements once the case has been dismissed

   without prejudice; thus, if the parties have not finalized their
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   settlement by the deadline, they are encouraged to move for an

   extension of that deadline. The Clerk should close the file now, subject to

   reopening if the parties file papers by the deadline.

           3.   All pending motions and deadlines are terminated.

           DONE AND ORDERED in Jacksonville, Florida the 14th day of July,

   2022.




   ckm
   Copies:

   Counsel of record




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